Case 1:18-cV-23182-UU Document 1-1 Entered on FLSD Docket 08/04/2018 Page 1 of 2
1544 (Rev.06/17) FLsD Revised 06/01/2017 CIVIL COVER SHEET

'l'he :IS 44 civil cover sheet and the_ information contained herein neither replace nor sllx})plement the filing and service of pleadi§s or other pagers as required by law, except as
pro_vi_d_ed by local roles of court. This fonn, approved by the Judicial Confeience of the nited Smtes in September 1974, is requir for the use o the Clerk of Court for the purpose
of mitlal:ing the civil docket sheet, (SEE INSIRUCTYONS ONNEXTPAGE OF THIS FORM) NOTlCE: Attorneys MUST Indicate All Re-f`lled Cases Below.

I- (a) PLAlNTIFFS DEFENDANTS CORPORATE TRAVEL CONSULTANTS 11
FANNY CAJINA LLC, CORPORATE TRAVEL CONSULTANTS-
(b) county of Residenee of Firsc Lisced Plainriff M|AMl-DADE county efReeidenee of Firsr Liseed Defendnnr
(EXCEPT]N U.S. PLAINTIFF CASES) (lN U.S. PLAINUFF CASES ONLD
NOTE: IN LAND CONDEMNA'I`!ON CASES, USE THE IDCA'I`ION OF
THE 'l'RACT OF LAND INVOLVED.
(c) Attomeys mm Name, Addrese, and Telephnne Number) Actomeys (IfKnnwn)

DEREK SM|TH LAW GROUP, PLLC Att.: Andrew S. A|itowski, Esq. 100
SE 2nd Street, Sui'te 2000 Miami, FL 33131

(d) Check County Where Action Arose: m MxAMz-oADE 121 MoNRoE cl BRowARD l:l PALM such 121 MARTJN l:l s'r.i.ucnz l:l n~mIAN RNER DoKEEcHoBEE Dmcumnns

 

Il. BASIS OF JURISD!CTION (Place an "X” in One Box 0nly) IH. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor thintj#)
(For Diversity Cases Only) and One Boxfor Defendant)

|:| 1 u.s. Gnvemnnehc n 3 Fede¢nl Queszinn m DEF m l)F.F

Plaintiff (U.S. Governmenr Nat a Party) Citizen of This State n l n 1 lncorporated ar Principal Place n 4 n 4
of Busincss In This S\ate

g 2 U.S. Govemment I] 4 Diversity Citizen of Another Stale L'_] 2 m 2 lucozporated and Principal Place n 5 n 5

Defenda.ot (lmz'icate Cilizenship afParties in Ilem 110 of Business lo Another State
Citizen or Subjcct of a [] 3 n 3 Foreign Nation g 6 n 6

   
 

 
        

 

IV NATUR_E OF SUIT (Place an “X” `n_On B 071/y

 

   

 
 
 

   
  

 

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& Enforcement of Judgment Slander Personal lnjm'y D 430 Banks and Banking
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n 152 Recovery of Defaulted Liability n 368 Asbestos Personal cl 460 Depormtion

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(Exel. verernns) Cl 345 Merine Pmduct Linhiiiry ' .r',' _» 1 _' cnnupi orgnniznciens
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I:I 230 Rent Lease & Ej¢c\ment 442 Employment n §;gtc:::“°ns to Va°‘“e [:I ‘8_]7$1€ 71]61059_“""1 Pmy 26 Act/Review or Appwl of

n 240 Torts to La.ud n 443 H°“sing/ Other: Agency Decision

 

 

 

 

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VI. RELATED/ (Seeinstructions): a) Re~f\led Case CIYES dNO b) Related Cases ElYES d NO
RE-FILED CASE(S) Jul)GE: DocKET NUMBER:

 

Cite the U.S. Civil Statute under which you are iiling and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversi¢y/:
VII_ CAUSE OF ACTION Tit|e VI| of the Civi| Rights Act of 1964,, 42 U.S.C. § 1981 , Americans with Disabi|ities Act, as amended, 42 U.S.C. § 12101 et seq.
LENGTH OF TRIAL via 5 days estimated (for both sides to try entire case)
VIII. REQUESTED IN n cHEcK rF mls ls A cLAss ACTioN

COMPLAmT_ UNDER F R C P 23 nEMANl) s Over $ 100,000 chu~;cK YEs only ifdemnnded in enmphint;

 
    
 

 

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08/03/2018

 

 

 

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rs 44 (Rev. 06/17) FLsD Revised 06/01/2017
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This fonn, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I. (a) Plaintiffs-Def`endants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
official, giving both name and title.

(b) County of Residence. l~`or each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of tiling. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)

(c) Attomeys. Enter the firm name, address, telephone number, and attorney of record. If there are several attomeys, list them on an attachment,
noting in this section “(see attachment)".

lI. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings Place an “X” in
one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.

United States plaintiff (l) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and ofiicers of the United States are included here.

United States defendant (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) ’lhis refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence and
box l or 2 should be marked_ Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section 111 below; federal question actions take precedence over diversity cases.)

llI. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

lV. Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature
of suit code that is most applicable Click here for: Nature of Suit Code De§cn'ptions.

V. Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed ii'om State Court (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.

Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or ReopenecL (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section l404(a). Do not use this for within district transfers or multidistrict
litigation transfers

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgrnent. (7) Check this box for an appeal from a magistrate judge’s decision

Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.

VI. Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-liled cases. lnsert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
Brief Description: Unauthorized reception of cable service

VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R_Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.

Jury Demand_ Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet

 

 

